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                            Exhibit 13
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Tue, Apr 30, 2024 at 8:01 AM
  Subject: BruinALERT: Campus Activity Updates (Tuesday, April 30th)
  To:                                  <                                     >



  BruinALERT: We remain committed to supporting the safety and wellbeing of Bruins,
  supporting the free expression rights of our community, and minimizing disruption to our
  teaching and learning mission.

  Events and activities are being evaluated on a case-by-case basis and we are working to
  maintain our regular campus life as much as possible.
  Event organizers will communicate with participants directly regarding changes,
  cancellations or alternative access accommodations.

  We have enhanced security measures and increased the numbers of our safety team
  members on site, including our uniformed Student Affairs Mitigators (SAMs), Public Safety
  Aides (PSAs), CSC and campus security.

  The access to Royce Quad is limited and as such, please enter Powell and Kaplan Hall
  from the south-facing entrances; Royce and Haines Hall are accessible through the north or
  west entrances.

  We will continue to ensure people on campus know about the demonstration so they can
  avoid the area if they wish. This includes having student affairs representatives stationed
  near Royce quad to let Bruins and visitors know about the encampment, redirect them if
  desired and to serve as a resource for their needs.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




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